Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 1 of 36




         EXHIBIT B-1




                                                             Callier Appendix -35
                Case 3:23-cv-00302-KC         Document 21-6           Filed 03/19/24          Page 2 of 36

                                                                                  Á¤£z@                    @@
                                                                                  É¥z@ùõø÷óóöùõ÷
                                                                                  Â@   z@Á@òö@`@Ô¨@òõk@òðòó



ã £¥£¨ M£K]
Á@Ã
ùñõ`óøó`ôöðô
ÇÁÓÁçè@âòò@äÓãÙÁ
Ä£     ã     Õ¤        Ö £      Ä¢£ £          Ô K      Á£ Ã ¢     ÓÄaÖ£  Ã ¢ ã £




Ô¨@ññ   ñzòö@×Ô ÷óò`õ÷õ`òðð÷   Å@×¢k ãç    É k ÃÓ       ÷          ``                 ``                  ``




                                                      Sup000033                                      Callier Appendix -36
                                                                                                                            òù
                Case 3:23-cv-00302-KC           Document 21-6            Filed 03/19/24          Page 3 of 36

                                                                                     Á¤£z@                    @@
                                                                                     É¥z@ùõø÷óóöùõ÷
                                                                                     Â@   z@Á@òö@`@Ô¨@òõk@òðòó



ã £¥£¨ M£K]
Á@Ã
ùñõ`óøó`ôöðô
ÇÁÓÁçè@âòò@äÓãÙÁ
Ä£     ã      Õ¤         Ö £      Ä¢£ £          Ô K       Á£ Ã ¢     ÓÄaÖ£  Ã ¢ ã £




Ô¨@òó   ñðzõö@ÁÔ ôøð`ôóñ`÷ðñ÷    Å@×¢k ãç    É k ÃÓ       ò           ``                 ``                  ``




Ô¨@òó   ñzðð@×Ô ôøð`ôóñ`÷ðñ÷     Å@×¢k ãç    É k ÃÓ       ñ           ``                 ``                  ``
Ô¨@òó   ñzðð@×Ô ôøð`ôóñ`÷ðñ÷     Å@×¢k ãç    É k ÃÓ       ñ           ``                 ``                  ``
Ô¨@òó   ñzñø@×Ô   ôøð`ôóñ`÷ðñ÷   æÆ@ÃÓ        Ç   £k Áé        ñõ          ``                 ``                  ``




                                                        Sup000038                                       Callier Appendix -37
                                                                                                                               óô
                Case 3:23-cv-00302-KC          Document 21-6           Filed 03/19/24          Page 4 of 36

                                                                                   Á¤£z
                                                                                   É¥z ùõùõóôðøôù
                                                                                   Â   z Ô¨ òö ` Ñ¤ òõk òðòó



ã £¥£¨ M£K]
Á Ã
ùñõ`óøó`ôöðô
ÇÁÓÁçè âòò äÓãÙÁ
Ä£     ã     Õ¤         Ö £      Ä¢£ £          Ô K      Á£ Ã ¢     ÓÄaÖ£  Ã ¢ ã £




Ñ¤ òñ   ózðõ ×Ô òñð`÷øñ`ñóôù    Å ×¢k ãç    É k ÃÓ       ò          ``                 ``                  ``




Ñ¤ òò   ñòzõò ×Ô ùñõ`÷øð`ôô÷ñ   Å ×¢k ãç    É k ÃÓ       ñ          ``                 ``                  ``




                                                       Sup000075                                      Callier Appendix -38
                                                                                                                             óô
               Case 3:23-cv-00302-KC         Document 21-6           Filed 03/19/24          Page 5 of 36

                                                                             Á¤£z@                     @@


                                                                             É¥z@ùöññóóùõö÷
                                                                             Â@   z@Ñ¤@òö@`@Á¤@òõk@òðòó



ã £¥£¨ M£K]
Á@Ã
ùñõ`óøó`ôöðô
ÇÁÓÁçè@âòò@äÓãÙÁ
Ä£    ã     Õ¤        Ö £      Ä¢£ £          Ô K      Á£ Ã ¢     ÓÄaÖ£  Ã ¢ ã £




Á¤@ñ   ôzðò@×Ô òðø`öðò`ùö÷ù   Å@×¢k ãç    É k ÃÓ       ø          ``                 ``                  ``




                                                     Sup000105                                      Callier Appendix -39
                                                                                                                           ò÷
                Case 3:23-cv-00302-KC         Document 21-6           Filed 03/19/24          Page 6 of 36

                                                                              Á¤£z@                     @@


                                                                              É¥z@ùöññóóùõö÷
                                                                              Â@   z@Ñ¤@òö@`@Á¤@òõk@òðòó



ã £¥£¨ M£K]
Á@Ã
ùñõ`óøó`ôöðô
ÇÁÓÁçè@âòò@äÓãÙÁ
Ä£     ã     Õ¤        Ö £      Ä¢£ £          Ô K      Á£ Ã ¢     ÓÄaÖ£  Ã ¢ ã £




Á¤@òð   øzðò@ÁÔ øõö`õðõ`ùõõù   Å@×¢k ãç    É k ÃÓ       ö          ``                 ``                  ``
Á¤@òð   øzõô@ÁÔ øõö`õðõ`ùõõù   Å@×¢k ãç    É k ÃÓ       ñ          ``                 ``                  ``




                                                      Sup000113                                      Callier Appendix -40
                                                                                                                            óõ
               Case 3:23-cv-00302-KC         Document 21-6           Filed 03/19/24          Page 7 of 36

                                                                             Á¤£z                     @@
                                                                             É¥z@ùöñùóñù÷ù÷
                                                                             Â@   z@Á¤@òö@`@â@òõk@òðòó



ã £¥£¨ M£K]
Á@Ã
ùñõ`óøó`ôöðô
ÇÁÓÁçè@âòò@äÓãÙÁ
Ä£    ã     Õ¤        Ö £      Ä¢£ £          Ô K      Á£ Ã ¢     ÓÄaÖ£  Ã ¢ ã £




â@÷   ùzõ÷@ÁÔ öóñ`öøð`ññóõ   Å@×¢k ãç    É  k ÃÓ        ø          ``                 ``                  ``




                                                     Sup000143                                      Callier Appendix -41
                                                                                                                           ò÷
                Case 3:23-cv-00302-KC          Document 21-6           Filed 03/19/24          Page 8 of 36

                                                                               Á¤£z@                    @@
                                                                               É¥z@ùöñùóñù÷ù÷
                                                                               Â@   z@Á¤@òö@`@â@òõk@òðòó



ã £¥£¨ M£K]
Á@Ã
ùñõ`óøó`ôöðô
ÇÁÓÁçè@âòò@äÓãÙÁ
Ä£     ã     Õ¤         Ö £      Ä¢£ £          Ô K      Á£ Ã ¢     ÓÄaÖ£  Ã ¢ ã £




â@ñó   ñòzõð@×Ô öóñ`öøð`ññóõ   Å@×¢k ãç    É  k ÃÓ        ô          ``                 ``                  ``




                                                       Sup000146                                      Callier Appendix -42
                                                                                                                             óð
                Case 3:23-cv-00302-KC        Document 21-6            Filed 03/19/24          Page 9 of 36

                                                                              Á¤£z@                    @@
                                                                              É¥z@ùöò÷óðòñðð
                                                                              Â@   z@â@òö@`@Ö£@òõk@òðòó



ã £¥£¨ M£K]
Á@Ã
ùñõ`óøó`ôöðô
ÇÁÓÁçè@âòò@äÓãÙÁ
Ä£     ã     Õ¤        Ö £     Ä¢£ £          Ô K       Á£ Ã ¢     ÓÄaÖ£  Ã ¢ ã £




Ö£@ññ   ñzõô@×Ô òñð`ùõò`øööô   Å¢k ãç    É  k ÃÓ       ñõ          ``                 ``                  ``




                                                     Sup000178                                       Callier Appendix -43
                                                                                                                            ò÷
                Case 3:23-cv-00302-KC           Document 21-6               Filed 03/19/24       Page 10 of 36

                                                                                    Á¤£z                      @@
                                                                                    É¥z@ùöõ÷ñòöñøñ
                                                                                    Â@   z@Ñ@ñø@`@Æ@ñ÷k@òðòô



ã £¥£¨ M£K]
Â@Ó£¤@Ã 
ùñõ`óøó`ôöðô
â ¢¤@Ç  §¨@âòò@ä£
Ä£     ã      Õ¤         Ö £       Ä¢£ £            Ô K        Á£ Ã ¢   ÓÄaÖ£  Ã ¢ ã £
Ñ@òõ   ùzñò@ÁÔ øðö`òðñ`ùøñö     Å@×¢k ãç     É k ÃÓ         ó           ``                ``                  ``
Ñ@òõ   ñðzñù@ÁÔ õñö`õòó`øôóó    Å@×¢k ãç     æ ¢£ ¤ ¨k Õè         ô           ``                ``                  ``
Ñ@òõ   ñðzóò@ÁÔ õñó`øøø`ðòñó    Å@×¢k ãç     É k ÃÓ         ø           ``                ``                  ``
Ñ@òõ   ññzòõ@ÁÔ ùñõ`óòù`òñøø    Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òõ   ñòzñô@×Ô ùñõ`óõò`÷ôôõ    Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òõ   ñòzóõ@×Ô ùñõ`øøø`ðôøù    Å@×¢k ãç     Å@×¢k ãç          ô           ``                ``                  ``
Ñ@òõ   ñzòø@×Ô ùñõ`ùòñ`õ÷ø÷     Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òõ   ñzóù@×Ô óñð`òó÷`öøñ÷     Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òõ   òzóõ@×Ô ôð÷`÷øð`ùøñð     Å@×¢k ãç     Ò¢¢     k ÆÓ     ñ           ``                ``                  ``
Ñ@òõ   òzô÷@×Ô ùñõ`÷ôð`òùùð     Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òõ   ôzõ÷@×Ô ùñõ`ùòù`øóðù     Å@×¢k ãç     É k ÃÓ         ø           ``                ``                  ``
Ñ@òõ   özôð@×Ô øñ÷`òùö`ðôòò     Å@×¢k ãç     É k ÃÓ         ÷           ``                ``                  ``
Ñ@òõ   øzôô@×Ô ùðó`øóð`ñõó÷     Å@×¢k ãç     ã¨ k ãç             ôõ          ``                ``                  ``
Ñ@òö   ÷zðø@ÁÔ ùñõ`ùùõ`òóðð     Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   øzð÷@ÁÔ ùñõ`õôð`õòñð     Å@×¢k ãç     É k ÃÓ         ò           ``                ``                  ``
Ñ@òö   øzôó@ÁÔ ùðó`÷ô÷`÷ðñô     Å@×¢k ãç     ã¨ k ãç             ñ           ``                ``                  ``
Ñ@òö   øzôô@ÁÔ ùðó`÷ô÷`÷ðñô     Å@×¢k ãç     É k ÃÓ         ø           ``                ``                  ``
Ñ@òö   ùzñ÷@ÁÔ ùñõ`øøø`ðôøù     Å@×¢k ãç     Å@×¢k ãç          ñõ          ``                ``                  ``
Ñ@òö   ñðzõø@ÁÔ ùñõ`÷õù`÷ùùô    Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   ññzòò@ÁÔ ôð÷`÷øð`ùøñð    Å@×¢k ãç     Ò¢¢     k ÆÓ     ñ           ``                ``                  ``
Ñ@òö   ññzôó@ÁÔ òñö`óùò`õðõð    Å@×¢k ãç     Ã ¥  k ÖÈ        ò           ``                ``                  ``
Ñ@òö   ñòzñð@×Ô ùñõ`óøó`ôô÷ô    Å@×¢k ãç     É k ÃÓ         ò           ``                ``                  ``
Ñ@òö   ñòzóõ@×Ô ùñ÷`õòõ`ñòøó    Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   ñòzôð@×Ô ùñõ`öùñ`øõöö    Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   ñòzôó@×Ô øðð`óù÷`ó÷ôò    Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   ñòzôó@×Ô ä¥       Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   ñzòò@×Ô   ùñ÷`õòõ`ñòøó   Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   ñzôö@×Ô øøø`ùôõ`òððð     Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   òzòø@×Ô ùñõ`òòù`ùöõ÷     Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   òzóò@×Ô ùñõ`ù÷ù`÷óøö     Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   òzôø@×Ô ùñõ`óøó`ù÷ðñ     Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   òzõ÷@×Ô ùñõ`óøó`õùôô     Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   òzõù@×Ô ùñõ`ù÷ù`÷óøö     Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   ózðø@×Ô öñù`óðð`ñññù     Å@×¢k ãç     É k ÃÓ         òð          ``                ``                  ``
Ñ@òö   ózóô@×Ô òñô`÷öô`ðñóö     Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   ózôó@×Ô ôð÷`÷øð`ùøñð     Å@×¢k ãç     É k ÃÓ         ò           ``                ``                  ``
Ñ@òö   ózõö@×Ô ôð÷`÷øð`ùøñð     Å@×¢k ãç     É k ÃÓ         ñð          ``                ``                  ``
Ñ@òö   ôzðõ@×Ô ôð÷`÷øð`ùøñð     Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   ôzòñ@×Ô öñù`óðð`ñññù     æÆ@ÃÓ         â@Ä     k ÃÁ     ÷           ``                ``                  ``
Ñ@òö   õzð÷@×Ô ôð÷`÷øð`ùøñð     Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@òö   õzóö@×Ô ôð÷`÷øð`ùøñð     æÆ@ÃÓ         Ò¢¢     k ÆÓ     ò           ``                ``                  ``
Ñ@ò÷   ÷zñò@ÁÔ   øðò`óñò`ñõòø   Å@×¢k ãç     É k ÃÓ         ñ           ``                ``                  ``
Ñ@ò÷   ùzòó@ÁÔ ôð÷`÷øð`ùøñð     Å@×¢k ãç     Ò¢¢     k ÆÓ     õ           ``                ``                  ``
Ñ@ò÷   ùzòø@ÁÔ ùñõ`øòð`ñøõù     Å@×¢k ãç     Å@×¢k ãç          ø           ``                ``                  ``
Ñ@ò÷   ùzôö@ÁÔ ùñõ`óøó`öùññ     Å@×¢k ãç     Å@×¢k ãç          òñ          ``                ``                  ``



                                                           Sup000200                                      Callier Appendix -44
                                                                                                                                 ñô
          Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 11 of 36
012 345567
    SUP221000014
                              82911 1         9 ÿ2 822        ÿ
 1  4                      829 2 8         9 ÿ2    28        ÿ! 5ÿ
 1 345567 5 ÿ%             2 1812      9 ÿ2          '47
 1  4                       2829 21       9 ÿ2  22 2       6 5
 19  4                         22         9 ÿ2            6 ÿ
 1  4                       282 88 8       9 ÿ2   2         '47
 1                             28 8         9 ÿ2 9        6 5
 11                            2 121         9 ÿ2 8        6 ÿ
 18                            2829 9         9 ÿ2282       6 5
 8  4                      29998 8218    9 ÿ22 8         6 ÿ364
 82 345567                     282 9 12      9 ÿ228         6 ÿ
 8  4                       2829 18        9 ÿ299 2        6 5
 8 . 4 /. 0 0ÿ03        8291 2198      9 ÿ2  9         6 5
 8  4 354572               2829 1        9 ÿ89 2 1       6 5
 89 . 4                    28             9 ÿ889 2          66ÿ%.
 8  4                       2 998        9 ÿ8229 29       67
 8 345567                      282 9 12      9 ÿ8           6 ÿ
 81  4                        98 812      9 ÿ1928 8        6 ÿ656
 88  4                      2829 8 2       9 ÿ188 2       6 5
9 345567                     2 2                              
                                         2                       9
                                                                 
                                                                 
90 345567                    &2010 2 2     99ÿ2 2        (46"
99 4                  &2010 2 2     99ÿ2 2 20       (46"
9  4                       2829882       99ÿ2919          6 5
9  4                       2829 1 1     99ÿ292 8         6 5
91 345567                     2829 1 1      99ÿ292 2       6 5
98  4 ÿ% 46             829 2 28        99ÿ29 9  2       6 5
92 . 4 ÿ% 46            829 2 28        99ÿ292 9        6 5
922  4 ÿ% 46             829 2 28        99ÿ29 2        6 5
92 345567                      29 21 18       99ÿ2 9        '47
92  4                       212 888       99ÿ22 9 22       !65 4
92  4                       2  928 8      99ÿ229 9        6 ÿ
929 345567                     2189922
                                                                   
                                                                   
                                                                        Callier Appendix -45
            Case 3:23-cv-00302-KC   Document 21-6    Filed 03/19/24    Page 12 of 36
012   SUP221000027
                                        2
                                            


011 &8%%'                      22        2 22ÿ 2              ÿ(%)
01 34567849                       1 21      2 22ÿ               3484
 1 34567849 4ÿ 8                 22 2        2 2 ÿ2 2 1        #
 1 +96849 , 6 ÿ67849             1        2 2 ÿ 12 2         #
  34567849                       12 2      2 2 ÿ 2            +86
  34567849 4ÿ 8                 22 2        2 2 ÿ2  2         #
 2 +96849                       2 2         2 2 ÿ1 22         #
  +96849 4ÿ 8                 22 2       2 2 ÿ1  12          #
  34567849                         221      2 2 ÿ            #
  34567849                                 2 2 ÿ               #
 1 34567849                       111 1      2 2 ÿ            #
  8                               1           2 2 ÿ               #
  8                               2112       2 2 ÿ              #
  8                               2   1    2 2 ÿ2              856484

                                                                      




                                        2                             2
                                                                      2
                                            2


                                            
                                                                     1
                                                                      
                                                                     
                                        
00 34567849                    22        2 2 ÿ20          ÿ(%)

                                                                            Callier Appendix -46
Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 13 of 36




                                                              Callier Appendix -47
              Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24        Page 14 of 36
              00084
1036




1053 Missed                       2107811349    2023-06-22 08:53:47 00:00        San Antonio, TX




1060 Missed                       2107811349    2023-06-21 19:27:10 00:00        San Antonio, TX




1071 Incoming                     2107811349    2023-06-21 15:07:19 01:11        San Antonio, TX



                                                                                 Callier Appendix -48
      Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 15 of 36
SUP221000131




                                                                    Callier Appendix -49
Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 16 of 36




                                                              Callier Appendix -50
Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 17 of 36




                                                              Callier Appendix -51
Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 18 of 36




                                                              Callier Appendix -52
Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 19 of 36




                                                              Callier Appendix -53
Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 20 of 36




                                                              Callier Appendix -54
Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 21 of 36




                                                              Callier Appendix -55
Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 22 of 36




                                                              Callier Appendix -56
Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 23 of 36




                                                              Callier Appendix -57
Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 24 of 36




                                                              Callier Appendix -58
Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 25 of 36




                                                              Callier Appendix -59
Case 3:23-cv-00302-KC   Document 21-6     Filed 03/19/24   Page 26 of 36




                              Sup000212                                    Callier Appendix -60
Case 3:23-cv-00302-KC   Document 21-6     Filed 03/19/24   Page 27 of 36




                              Sup000219                                    Callier Appendix -61
Case 3:23-cv-00302-KC   Document 21-6     Filed 03/19/24   Page 28 of 36




                              Sup000213                                    Callier Appendix -62
Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 29 of 36




                               000277                         Callier Appendix -63
Case 3:23-cv-00302-KC   Document 21-6     Filed 03/19/24   Page 30 of 36




                              Sup000214                                    Callier Appendix -64
Case 3:23-cv-00302-KC   Document 21-6     Filed 03/19/24   Page 31 of 36




                              Sup000220                                    Callier Appendix -65
Case 3:23-cv-00302-KC   Document 21-6     Filed 03/19/24   Page 32 of 36




                              Sup000216                                    Callier Appendix -66
Case 3:23-cv-00302-KC   Document 21-6     Filed 03/19/24    Page 33 of 36




                              Sup000217                    Callier Appendix -67
Case 3:23-cv-00302-KC   Document 21-6     Filed 03/19/24   Page 34 of 36




                              Sup000215                                    Callier Appendix -68
Case 3:23-cv-00302-KC   Document 21-6     Filed 03/19/24   Page 35 of 36




                              Sup000218                                    Callier Appendix -69
Case 3:23-cv-00302-KC   Document 21-6   Filed 03/19/24   Page 36 of 36




                                                                         Callier Appendix -70
